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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

JEDIDIAH MURPHY,                              §
             Plaintiff,                       §
                                              §       CIV. ACT. NO. 1:23–CV–1170
v.                                            §       DEATH PENALTY CASE
                                              §
ALEXANDER JONES, et al.,                      §
             Defendants.                      §

                      DEFENDANT’S NOTICE OF APPEAL

      Notice is hereby given that Defendant appeals to the United States Court of

Appeals for the Fifth Circuit from this Court’s October 6, 2023 order granting

Plaintiff’s motion for a stay of execution.

                                              Respectfully submitted,

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                                              EDWARD L. MARSHALL
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                                              /s/ Ali M. Nasser
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       Case 1:23-cv-01170-RP-SH Document 17 Filed 10/06/23 Page 2 of 3

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                          CERTIFICATE OF SERVICE

      I do herby certify that on October 6, 2023, I electronically filed the foregoing
document with the Clerk of the Court for the U.S. District Court, Western District of
Texas, using the electronic case-filing system of the Court. The electronic case-filing
system sent a “Notice of Electronic Filing” (NEF) to the following counsel of record,
who consented in writing to accept the NEF as service of this document by electronic
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